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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             WESTERN DIVISION


HYBRID KINETIC AUTOMOTIVE
HOLDINGS, INC. and AMERICAN COMPASS, INC.                                    PLAINTIFFS

VS.                                         CIVIL ACTION NO. 3:09-CV-35-MPM-DAS

HYBRID KINETIC AUTOMOTIVE CORP.,
XIAOLIN (CHARLES) WANG, XI (JACK) DENG,
YI (GARY) TANG, NICOLE DENTON, CAPITAL
WEALTH HOLDINGS, LTD., KONG BING OEI,
LION GMBH, YUCHENG LEI, and YUNTONG
XU,                                                                        DEFENDANTS

                                         ***
HYBRID KINETIC AUTOMOTIVE CORPORATION,
CHARLES WANG, JACK DENG, GARY TANG,
NICHOLE DENTON, BETHANY TURNER,
KONG BING OEI, PETER KREUTER AND
MOTOREN-und ENGINE-TECHNIC GmbH                            THIRD-PARTY PLAINTIFFS

VS.

YUNG (BENJAMIN) YEUNG A/K/A RONG YANG,
RHEA YEUNG, VINCENT WANG, JIMMY WANG,
QUAN LIU, ZHENGSHAN LI, ZHENGWEI ZHANG,
HONGYU SUN, HYBRID KINETIC AUTOMOTIVE
HOLDINGS, INC., HYBRID KINETIC MOTORS
CORPORATION, THE ALABAMA CENTER
FOR FOREIGN INVESTMENT, LLC, FAR EAST
GOLDEN RESOURCES GROUP, LTD. AND
AMERICAN COMPASS INC.                                    THIRD-PARTY DEFENDANTS

                           ORDER FOR ADMISSION OF
                         GARY J. GORHAM PRO HAC VICE

      Before the court is the unopposed Motion (docket no. 150) of Plaintiffs Hybrid Kinetic

Automotive Holdings, Inc. and American Compass, Inc. and Third Party Defendants Hybrid

Kinetic Motors Corporation, Alabama Center for Foreign Investment, LLC, Far East Golden
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Resources Group, Ltd., Yung (Benjamin) Yeung, Rhea Yeung, and Quan Liu, for the admission

pro hac vice of Gary J. Gorham, Esq., as additional counsel for these Plaintiffs and Third Party

Defendants in association with John C. Henegan, Frank M. Holbrook Paul N. Davis and P. Ryan

Beckett, all members in good standing of the bar of this court. The court, having duly considered

the motion, and having been advised that the Defendants and Third Party Plaintiffs do not oppose

same, finds that the motion is well taken and should be granted. It is therefore

       ORDERED that Gary J. Gorham be admitted to appear and practice pro hac vice in the

above numbered and referenced cause as additional counsel for Plaintiffs and Third Party

Defendants.

       IT IS FURTHER ORDERED that counsel shall pay the admission fee and register with

the Clerk as a user of the court’s electronic filing system on or before July 16, 2009. Attorneys

may register electronically by accessing the attorney registration site at

www.msnd.uscourts.gov/ecf or, alternatively, by printing, executing and mailing or hand-

delivering to the Clerk of this Court the Attorney Registration Form attached as Form 1 to the

Administrative Procedures for Electronic Case Filing in the United States District Court for the

Northern District of Mississippi.

   THIS 2nd day of July, 2009.


                                       /s/ David A. Sanders
                                       UNITED STATES MAGISTRATE JUDGE
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Submitted By:


/s/ P. Ryan Beckett
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BUTLER, SNOW, O’MARA, STEVENS & CANNADA, PLLC

COUNSEL FOR HYBRID KINETIC AUTOMOTIVE HOLDINGS, INC.
AND AMERICAN COMPASS, INC.PLAINTIFFS


Unopposed by:


/s/ William C. Brabec
William C. Brabec, Esq.
M. Scott Jones, Esq.
Elizabeth F. Archer, Esq.
John S. Hooks, Esq.
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/s/ E. Clifton Hodge, Jr.
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XI (JACK) DENG, YI (GARY) TANG,
NICHOLE DENTON AND BETHANY TURNER


/s/ John P. Sneed
John P. Sneed, Esq.
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WISE CARTER CARAWAY & CHILD

COUNSEL FOR KONG BING OEI, PETER KREUTER
AND MOTOREN-und ENERGIE-TECHNIK GmbH
